                        Case 1:08-cv-01734-MHS Document 1-2 Filed 05/13/08 Page 1 of 2
JS44 ( Rev 5105 NDGA )                                                       CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
except as provided by local rules of court This form is required for the use of the Clerk of Court for the purpose of initiating the civil docke'r
INSTRUCTIO N S ATTACHED)                                                                                                                                                                      PZ

I. (a) PLAINTIFF(S)                                                                                         DEFENDANT(S)
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     1~ f -tic 't C .4 ~                                                 .
  (b)COUNTY OF R ESIDEN CE OF FIRST LISTED                                                                     COUNTY OF RESIDE CE OF FIRST LISTED
          PLAI N TIFF                                                                                                           v J :10 .n
                                                                                                                 DEFENDANT---------------------------
                                 (E XCEPT I N U 5 PLAINTIFF CAS E S)                                                                    (1 N U 5 P LT F CASES ONLY)

                                                                                                               NOTE IN LAND COND E M NATI O N CASES USE THE LOCATIO N OF THE
                                                                                                                    TRACT OF LAN D INVOLVED


(c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE                                                             ATTORNEYS (IF KNOWN)
                                   NUMBER , AND E-MAIL ADDRESS)


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                                                                                 1 dI r

II. BASIS OF JU RI SDICTIO N                                                  III. CITIZENSHIP OF PRINCIPAL PARTIES
           (PLACE AN "X" IN ONE BOX ONLY)                                                 ( PLACE AN " X" IN ONE BOX FOR PLA INTIFF AND ONE BOX FOR D EF E NDANT)
                                                                                                                 (FOR DIVERSITY CASES ONLY)

                                                                               PLF                    DEF                                       PLF        DEF

     7 U 5 GOVERNMENT 3 FEDERAL QUESTION                                              1           ~ 1 C ITIZE N OF THIS S TATE                  ~ a              4 INCO RP ORATED OR PRI N CIPAL
D        PLAINTIFF LAESL (U S GOVERNMENT NOT A PARTY)                                                                                                               PLA CE O F BUSINESS IN THIS STA TE


     2 U S GOVERNM ENT            4 DIVERSI TY                                       2            ~         2    CITIZEN O F ANOTHER STA TE      ~5              5 INCORPORATED AND P RI N CI PAL PLACE
          D EFE N DANT               flNDICATE CITIZENSHIP OF                                                                                                      O F BUSINESS I N ANOTH ER STATE
                                          P ARTI ES IN ITEM I lq                      3             3 CITIZEN O             OF              A    ~s
                                                                              Q                   Q        F REI GN COUNTRY                               Q 6 FOREIGN NATI ON


IV. O RIGIN (PLA CE AN X I N O NE BOX O N LY)
                                                                                                                         TRANSFERRED FROM             APPEAL            TO       DISTRICT
      1 ORIGINAL                                                                 4 RREINSTATED EOPE
        PROCEEDING D 2 STATE COURT                D 3 APPELLATE COURT C~                              N ED OR D 5 (SPECIFY DISTRICT ~           D 6 LITI GATI ON {CT        D 7 JUDGE JUDGMENT


V.   CAUSE OF ACTION (CITE THE U S CIV I L STATUTE UNDER WHICH YOU ARE FIL I NG AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                                JURISDICTIONAL STATUTES UNLESS DIVERSITY)




 (IF COMPLEX, CHECK REASON BELOW)


         1 Unusually la r ge numbe r of parties                               6 P robl ems locating or pre s e rving evid e nce


         2 Unusually large number of claims or defenses                       7 Pending parallel investigations or act i ons by government

         3 Fa ct u al i ssues are exceptionally complex
 El                                                                           8 M u l tiple use of experts

         4 Greater t han normal volume of evidence                            9 N eed for d iscovery outside United States boundar i es
 El
 El      5 Extended d i scovery period i s needed                       U 10 Exist en ce of highly technical issues and p roo f


                                                                       CONTINUED ON RE VERSE

     OFF I CE USE ON L Y

          ~             VMC LtiT S                                     ;PaVNG F PIlha,x JJDGE pF-




                            MAa: JLA GE                                PV'L 9 E OC SJr :                       G4JaE Z)F A---M
                                                   Refs-roll

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           Case 1:08-cv-01734-MHS Document 1-2 Filed 05/13/08 Page 2 of 2
VI. NATURE OF SUIT ;P Lac C AM X IN ONE BOX ONLY)
                                                       BANKRUPTCY -"0" MONTHS DISCOVERY TRACK                  SOCIAL SECURITY - "0" MONTHS DISCOVERY
CONTRACT - O' MONTHS DISCOVERY TRACK
   Q 150 RECOVERY OF ObFRPAYNENT &                         0422 APPEAL 28 USC 1 58                             T CK
                                                                                                                       861 HIA (1 395rt)
         ENFORCEMENT O F JUDGMENT                          Q 423 VkT FDRAVW4L 2B USG 157
                                                                                                                   Q 8fi2 BL4CIC LUNG (923)
   Q 152 RECOVERY OF DE FAULTED
           STUDENT LOANS (EXCLVETERANS) CIVIL RIGHTS• '4' MONTHS DISCOVERY TRACK                                   = 8q DIWC (405(8))
                                                  Q 441 VOT ING                                                    ~ 863 DIww(ao5(9))
   Q 153 RECOV ERY OF OVERPAY MENT OF
                                                                                                                   Q 86 4 SSI D TITLE XVI
           VETERAN'S BENEFITS                     D 442 EMPLOYMENT
                                                  Q 443 HOUSINGJACCOMMODATIONS                                     0865 RS I (405(g))

CONTRACT-"4" MONTHS DISCOVERY TRACK               Q 4+IA 1F4El .FARE
   Q 1 10 1N SU R4NGE                                440 OTHER CIVIL RIGHTS                                    FEDERAL TAX SUITS -"4" MONTHS DISCOVE RY
   Q 1 20 MARI N E                                   445 AMERICANS with DISABIIJTIES-                          TRA CK
                                                                                                                   Q 870 TAXES (U S PLWiIFF OR
       1 30 MILLER ACT                                      SMOWTa7
                                                                                                                           DEFENDANT)
       140 NEGOTIABLE INSTRUMENT                  0446 AMERICANS with DISABRJTIES-
                                                                                                                   Q 971 IRS- THIRD PARTY 26 USC 7699
   0 1 51 MEDI CARE ACT                                             Olho'

       1 60 ST OCKH OLDERS SU ffS
                                                       PRISONER PETITIONS - " 0" MONTHS DISCOVERY              OTHER STATUTES -"4" MONTHS DISCOVERY
       1 90 OTHER CONTRACT
                                                       TRACK                                                   TRACK
   Q 195 CONTRACT PRODUCT LIABILITY
                                                           Q 510 MOIIONST O VACATE SENT ENCE                      0406 STATE REAPPORTIONMENT
   r-1 196 FRANCHISE
                                                           Q 530 HABEAS CORPUS                                    0430 BdiMCS PND BANFdNG
                                                                                                                  []4 50 CO MM E RCEACC RATES+ETC
REAL PRg PERTY - "4 " MONTHS DISCOVE RY                    0 535 11P9EAS C ORPUS D E ATH PENALTY
                                                           Q 640 MANDAMUS & OTHER                                 Q460 DEPO RTATION
TRACK
                                                           Q 550 CIVIL RIGHTS (Pied Pm se)                            470 RACKETEER INFLUENCED AND
       210 LAND CONDEMNATION
    Q 710 FORECLOSURE                                        555 PRI SON CONDITION(S) (Pi e d Pro se)                      CORRU PT ORGANIZATIONS
   Q 230 RENT LEASE & EJECTIVIENT                                                                                 D 480 CONSUM ER CREDIT
   Q 240 TORTS TO LAND                                 PRISONER PETITIONS -"4" MONTHS DISCOVERY                   0490 CP91.EJSATELLITEN
                                                       TRACK                                                      Q 8 10 SEIFCTh /E SERVICE
   Q 245 TORT PRODUCT LIABILITY
                                                               550 CIVIL RIGHTS (P ied by Counsel)                Q 675 CUSTOMER CHALLENGE 12 USC
        29o ALL OTHER REAL PROPERTY
                                                           0 555 PRISON CONOf1lON(S) (Filed by Counsel                      3410
                                                                                                                  Q 897 AGRI CULTURAL ACT S
TORTS . PERSONAL INJURY -"4" MONTHS
                                                                                                                  Q 892 ECO NO MIC STABILIZATION ACT
D ISCOVERY TRACK
     O 310 AIRPLANE                                    FORFEITUREIPENALTY • "4" MONTHS DISCOVERY                  =8M ENVIRONMENTAL MATTERS
         315 AIRP L ANE PRODUCT LIABILITY              TRACK                                                      D 894 ENERGYALLOCAIION ACT
     Q 320AS54ULT, LIBEL 8. SLANDER                            610AGRICULTUFiE                                    Q 895 FREEDOM OF IPFO FiMATIO N ACT
     Q 330 FE DERAL EMPLOYERS LtABILRY                     Q 620 FOOD & DRUG                                      Q 900 APPEAL OF FEE DETERMINATION
         340 MARI NE                                       r-1 G15 DRUG RELATE D SEIZURE OF                                UNDER EQUAL ACCESS TO
         3 45 MARINE PRODUCT LIABILITY                              PROPERTY 21 U SC 86 7                                  JUSTI CE
     Q 350 MOTO R VH iI CLE                                     630 LIQUOR LAWS                                    Q 960 CONST1TUIlOIWaLfTY OF STATE
         355 MOTO R VEHICLE PRODUCT                        Q 640 RR . & TRUCK                                               STATUTES
               LIABIL ITY                                       650 AIRLI NE BEGS.                                     890 OT HER STATUTORY ACTIONS
     Q 36D OTHER PERSONAL INJURY                           Q 660 OCCUPATIONAL S AFEf`(A-1EALl'H
         362 PER SONAL INJURY - MEDICAL                    Q 690 OTHER                                         OT HER STATUTES-" 6" MONTHS DIS COVERY
                                                                                                               TRACK
            MALPRACTI CE
    0 365 PERSONAL INJURY - PRODUCT                    LABOR - "4" MONTHS DISCOVERY TRACK                          0410AMfTRUST
                                                          0 710 FAIR L AB OR STANDARDS ACT                         0 850 SECURITIES ICOMMODITIES !
            LIABILITY
                                                                720 LABORAVIGMT RELATIONS                                   EXCHANGE
    0 368 ASB ESTDS PERSONAL IWURY
                                                          0 730 L/4BORAAGM1RT REPORTING &
            PRO DUCT LJABI Lf1Y
                                                                    DISC LOSURE ACT
TORTS - PERSONAL PROPERTY-'4' MONTHS                      Q 740 RAILWAY LABOR ACT
                                                                                                               DISCOVERY TRACK
 DISCOVERY TRACK                                                7'90 OTHER LABOR LITIGAT ION
                                                                                                                       ARBITRATION
      370 OT HER FRAUD                                      1    9 1 FJIIIP L. RET I NC SECURITY ACT
                                                                                                                        (CONFIRMNACATEr90RDEF?/ MODIF'n
    Q 371 TRUTH I N LENDING
    Q 3BO OTHER PERSONAL P ROPERTY                     CROPERTY RIGHTS-"4 " MONTHS DISCOVERY
                                                       TRACK                                                   (N ote . P lease mark under lying N ature of
            DAMAGE
                                                           p 8W COPYRIGHTS                                              Suit as we l l)
    Q 385 PROPERTY DAMAGE PRODUCT
            LIABILITY                                        840 TRADEMARK
                                                                                                               "PLEASE N OTE DISCOVERY
                                                       PROPERTY RIGHTS -"8" M NTHSU lSCOVERY                    TRAC K FOR EACH CASE
                                                       TRACK
                                                                                                                TYPE . SEE LOCAL R U LE
                                                          0 830 PATENT
                                                                                                                26.3
VII. REQUESTED IN COMPLAINT :
 []CHECK IF CLASS ACTION UNDER F R Civ P 2 3             DEMAND $____
 J URY DEMAND [::] YE S [ ::] NO ( CHECK YES ONLY IF DEMANDE D IN C OMPLA I NT )

Vlll . RELATED/REFILED CASE(S) IF ANY
        JUDGE                                   DOCKET NO .
 CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES (C HE CK APPROP RIATE B O X )
   [~ 1 PR OPERTY INCLUDED IN A N EARL IER NUMBERED PE NDING SUIT
   Q 2      SA ME ISSUE OF FACT OR ARI SES OUT OF THE SAME EVENT OR TRANSACTI ON INCLUDED IN AN EARLIER NUMBERED PENDING SUIT
     3      VALIDITY OR INFRINGEMENT OF THE SAME PATENT CO PYRIGHT O R TRADEMARK IN C LUDE D IN AN E ARLIER N U MB ERED PENDING SUIT
   Q    4   APPEALS ARI SING OUT OF THE SAME BANKRUPTCY CASE AN D ANY CASE RELATED TH ERETO VIHI CH HAVE BEEN DECID ED BY THE SAME
          BANFfftUPTCYJ UDGE
   Q 5 REPETITIVE CASES F LT BYPRO Fg- LfT1GPfY TS.
     6 COMPANIO N OR RELATED CASE TO CASE(S) BE ING SIMULTANE OU SLY FILED (I NCLUDE ABBREVIATED STYLE OF OT HER CASE(S)


   0 7        EITHER SOME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE VLERE PREVIOUSLY INVOLVED IN CASE NO                                    VuHICFE
              WAS SMSSED THIS CASE           IS IS NOT (dtedcpnebn.) SUBSTANTIALLYTHE SAME CASE


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